         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR33


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )           ORDER
                                        )
                                        )
TERRANCE BRADLEY THOMPSON               )
                                        )


     THIS MATTER is before the Court on Defendant’s amended motion

for reconsideration of the denial of his motion to reduce sentence pursuant

to 18 U.S.C. § 3582(c)(2). Defendant moved the Court to reduce his

sentence pursuant to Amendment 706 of the Guidelines regarding crack

cocaine offenses and the Court denied his motion. See Defendant’s

Motion for Reduction of Sentence, filed July 14, 2008; see also, Order,

filed July 25, 2008.

     Based upon the Guidelines at the time of sentencing, Defendant

faced a statutory mandatory minimum sentence of 240 months

imprisonment. The United States filed a motion for downward departure

pursuant to U.S.S.G. § 5K1.1 and 18 U.S.C. § 3553(e) based upon the




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Defendant’s substantial assistance and recommended a Guideline range

of 188 to 235 months. Government’s Motion for Downward Departure,

filed October 22, 2007, at 3. The Court sentenced the Defendant to a

term of 168 months imprisonment. See Judgment in a Criminal Case,

filed November 7, 2007.

      Had Amendment 706 been in effect at the time of Defendant’s

sentencing in October 2007, the Guideline sentence would have been the

statutorily required minimum of 240 months imprisonment as required by

U.S.S.G. § 5G1.1. The Fourth Circuit has held that “§ 3553(e) allows for a

departure from, not the removal of, a statutorily required minimum

sentence. Thus, despite [Crowder’s] contentions to the contrary, he

remains subject to a statutorily required minimum sentence.” United

States v. Pillow, 191 F.3d 403, 404 (4th Cir. 1999). As a result, the

retroactive crack cocaine Amendment 706 has no effect on Defendant’s

sentence and, therefore, he is not eligible for a reduction of his sentence.

      IT IS, THEREFORE, ORDERED that the Defendant’s amended

motion for reconsideration is ALLOWED, and having reconsidered the

Court’s prior Order of July 25, 2008, such ruling is hereby AFFIRMED.




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                                Signed: August 18, 2008




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